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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                        LIA CRASONA JAVIER,
                                   7                                                       Case No. 4:24-cv-03327-YGR (DMR)
                                                       Plaintiff,
                                   8
                                                v.                                         NOTICE OF SETTLEMENT
                                   9                                                       CONFERENCE AND SETTLEMENT
                                        KAISER FOUNDATION HEALTH PLAN                      CONFERENCE ORDER
                                  10    INC.,
                                                                                           Re: Dkt. No. 37
                                  11                   Defendant.

                                  12          TO ALL PARTIES AND COUNSEL OF RECORD:
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 United States District Court




                                  13          The above matter was referred to Chief Magistrate Judge Donna M. Ryu for settlement

                                  14   purposes.

                                  15          You are hereby notified that a settlement conference is scheduled for September 12, 2025,

                                  16   at 10:00 a.m., at the U.S. District Court, 1301 Clay Street, Oakland, California 94612. For

                                  17   courtroom number and floor information, please check the court’s on-line calendar at

                                  18   http://www.cand.uscourts.gov) on Friday, prior to the scheduled hearing date.

                                  19          If all parties, counsel, and other mandatory attendees are not available on the above date,

                                  20   counsel shall notify the court in writing by sending an e-mail to dmrcrd@cand.uscourts.gov

                                  21   within 3 business days. The parties should be mindful of any time limits set by the judge to

                                  22   whom the case is assigned. If e-mail is not provided within 3 business days, the settlement

                                  23   conference date as stated above shall remain in effect.

                                  24          It is the responsibility of counsel to ensure that whatever formal or informal discovery is

                                  25   needed for all sides to evaluate the case for settlement purposes is completed by the date of the

                                  26   settlement conference.

                                  27   A.     Meet and Confer Requirement.

                                  28          No later than fourteen (14) calendar days before the settlement conference and prior to
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                                   1   the preparation of their Exchanged Settlement Conference Statements and Confidential Settlement

                                   2   Letters, counsel for the parties must meet and confer (in person or by phone) to discuss matters

                                   3   pertinent to improving the prospects that the settlement negotiations will be productive. During

                                   4   the meet and confer, counsel may address any subjects they feel are appropriate, but they must

                                   5   discuss the following:

                                   6          1.       Who will attend the conference on behalf of each party, including counsel and

                                   7   identification of the person(s) with full authority to make the final decision as to whether any

                                   8   settlement offer is made, accepted, or rejected (e.g., either the party or another person(s) if full

                                   9   authority does not rest with the party).

                                  10          2.       Which persons or entities must approve a proposed settlement agreement before it

                                  11   can be executed, as well as the nature and duration of any such approval process.

                                  12          3.       Whether insurance is available to cover all or part of the claimed losses or to fund
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                                  13   all or part of any party's defense; whether tenders have been made to any insurance companies;

                                  14   and if insurance is available, the name of and position held by each claims representative who will

                                  15   be attending the settlement conference.

                                  16          4.       Whether it would be useful for settlement demands and/or offers to be made before

                                  17   the settlement conference is convened.

                                  18          5.       Whether there are particular documents or other tangible things that should be

                                  19   brought to the conference (e.g., to educate the settlement judge or to support or explain significant

                                  20   contentions).

                                  21          6.       Any unusual issues or factors that could come into play in the settlement

                                  22   negotiations or any especially sensitive matters that other counsel should be alerted to before the

                                  23   conference.

                                  24   B.     Lodged Settlement Conference Documents.

                                  25          No later than ten (10) calendar days prior to the settlement conference, each party

                                  26   shall submit the following:

                                  27          (1) an Exchanged Settlement Conference Statement; and

                                  28          (2) a Confidential Settlement Letter.
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                                   1          A hard copy of each document shall be LODGED (not filed) with the U.S. District Court

                                   2   Clerk's Office in Oakland, located at 1301 Clay Street, Suite 400S, 4th Floor, Oakland, California

                                   3   94612. The documents shall be submitted in a sealed envelope addressed to Magistrate Judge Ryu

                                   4   and prominently marked "SETTLEMENT CONFERENCE DOCUMENTS - DO NOT FILE."

                                   5   In addition to the hard copy version, an electronic copy shall be submitted to

                                   6   DMRsettlement@cand.uscourts.gov.

                                   7          1.      Exchanged Settlement Conference Statements.

                                   8          Counsel shall serve a copy of the Settlement Conference Statement on all parties.

                                   9   Furthermore, counsel are strongly encouraged prior to the settlement conference to share with

                                  10   their clients the contents of the Settlement Conference Statement(s) received from opposing

                                  11   counsel.

                                  12          The Settlement Conference Statement shall not exceed ten (10) pages of text. Parties are
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                                  13   encouraged to include as exhibits any key documents and deposition excerpts up to twenty (20)

                                  14   pages. The Settlement Conference Statement shall include the following:

                                  15                  a.     A brief statement of the facts of the case.

                                  16                  b.     A brief statement of the principal claims and defenses.

                                  17                  c.     A description of the key factual and legal issues that are in dispute and a

                                  18   plain and concise statement of the specific evidence relevant to their determination. Portions of

                                  19   any exhibits relied upon by the parties shall be referenced and highlighted.

                                  20                  d.     A summary of the proceedings to date and a description of any pending

                                  21   motions.

                                  22                  e.     The bases for any damages calculations and a description of any non-

                                  23   monetary relief sought or non-monetary components of settlement offers or demands.

                                  24                  f.     A description of each component of each party's most recently

                                  25   communicated settlement demand or offer (describing specifically any non-monetary terms that

                                  26   were demanded or offered).

                                  27                  g.     For each party, a list of the names, titles, and positions of all persons who

                                  28   will be attending the conference.
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                                   1                  h.      Where the party is a governmental entity, a description of which persons or

                                   2   entities must approve a proposed settlement agreement before it can be executed, as well as the

                                   3   nature and duration of that approval process.

                                   4          2.      Confidential Settlement Letters.

                                   5          The Confidential Settlement Letter shall not be served upon other parties. The

                                   6   Confidential Settlement Letter shall not exceed five (5) pages of text and shall include the

                                   7   following:

                                   8                  a.      Separately for each principal claim and defense, a forthright evaluation of

                                   9   the strengths and weaknesses and likelihood that the party submitting the Confidential Letter will

                                  10   prevail. Citations to any key legal authorities relied upon by the parties as part of this evaluation

                                  11   shall be provided.

                                  12                  b.      An estimate of the out-of-pocket expenses, attorneys' fees, and time: (a)
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                                  13   spent to date and (b) to be expended for further discovery, pretrial, and trial. If plaintiff seeks

                                  14   attorneys' fees and costs, plaintiff's counsel shall be prepared at the conference to provide

                                  15   sufficient information to enable the fee claim to be evaluated for purposes of settlement.

                                  16                  c.      A history of past settlement discussions (without revealing communications

                                  17   whose disclosure to a settlement judge is prohibited), a description of the principal obstacles

                                  18   (factual, legal, or other) to reaching agreement, and the reason the parties' assessments of the

                                  19   settlement value of the case differ.

                                  20                  d.      A realistic settlement figure or terms (including any non-monetary terms)

                                  21   that, given all the circumstances, the party submitting the Confidential Letter would consider

                                  22   seriously.

                                  23                  e.      Where the party is insured or is a governmental entity, any foreseeable

                                  24   barriers to insurance coverage or approval of a proposed settlement, or special concerns that the

                                  25   insurer or governmental entity might want addressed.

                                  26                  f.      A brief discussion of any of the subjects identified in Section A of this

                                  27   Order that might be significant in the settlement dynamic.

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                                   1   C.      Mandatory Personal Attendance.

                                   2           Lead trial counsel shall appear at the settlement conference with the parties and with the

                                   3   person(s) having full authority to make the final decision as to whether any settlement offer is

                                   4   made, accepted, or rejected (if full authority does not rest with the party). A person who needs to

                                   5   call another person not present before making, accepting, or rejecting any settlement offer does

                                   6   not have such full authority. If a party is a governmental entity, its governing body shall

                                   7   designate one of its members or a senior executive to appear at the settlement conference with

                                   8   authority to participate in the settlement conference and, if a tentative settlement agreement is

                                   9   reached, to recommend the agreement to the governmental entity for its approval. An insured

                                  10   party shall appear with a representative of the carrier with full authority to negotiate up to the

                                  11   limits of coverage.

                                  12           Personal attendance is mandatory and will rarely be excused by the court, and then only
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                                  13   upon a written request that is timely under the circumstances and that demonstrates extraordinary

                                  14   hardship. Personal attendance may be excused only upon written authorization from the court. If

                                  15   the court permits attendance by telephone, the person who is excused from personally appearing

                                  16   must be available to participate by telephone throughout the entire conference.

                                  17   D.      Duration and Content of Settlement Conference.

                                  18           It is not unusual for settlement conferences to last three (3) or more hours. Parties and

                                  19   their representatives should be prepared to devote the entire day to the conference if necessary.

                                  20   Parties are encouraged to participate in the settlement conference and frankly discuss their case.

                                  21   Statements they make during the conference will not be admissible at trial in the event the case

                                  22   does not settle. The parties and their representatives should be prepared to discuss such issues as

                                  23   their settlement objectives; any impediments to settlement they perceive; whether they have

                                  24   enough information to discuss settlement and if not, what additional information is needed; and

                                  25   the possibility of a creative resolution of the dispute.

                                  26   E.      Continuances.

                                  27           Any request to continue the settlement conference shall state the reason therefor and be

                                  28   submitted in writing as soon as possible after consultation with the opposing party but well in
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                                   1   advance of the scheduled conference date. The request must demonstrate a compelling reason

                                   2   for a continuance and shall state whether it is joined or opposed by the other party(ies).

                                   3   Submission of such request shall be filed with the court. Parties must appear on the calendared

                                   4   date unless the court issues an Order continuing the matter.

                                   5          If the date to which a continuance is sought would be past a deadline for holding the

                                   6   settlement conference that was set by the judge to whom the case is assigned for trial, the party

                                   7   seeking the continuance must secure permission from the trial judge to hold the settlement

                                   8   conference during the proposed new time frame before seeking the continuance from Judge

                                   9   Ryu. A writing evidencing the trial judge's extension of the deadline must accompany the party's

                                  10   request to Judge Ryu for the continuance.

                                  11          The parties shall immediately notify Judge Ryu's Courtroom Deputy, Ivy Garcia, at (510)

                                  12   637-3639, if this case settles prior to the date set for the settlement conference.
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                                  13          Any failure to comply with the requirements of this Order may subject the parties and/or

                                  14   counsel to sanctions.

                                  15

                                  16          IT IS SO ORDERED.

                                  17   Dated: June 17, 2025
                                                                                         ______________________________________
                                  18
                                                                                         DONNA M. RYU
                                  19                                                     Chief Magistrate Judge

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